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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                     SAVANNAH DIVISION
JUAN ZAPIEN-PACHECO,                   )
     Movant,                           )
v.                                     )           Case No. CV416-152
                                       )                    CR413-129
UNITED STATES OF AMERICA,              )
     Respondent.                       )
                                   ORDER

      Let a copy of this Report and Recommendation be served upon counsel for

the parties. Any objections to this Report and Recommendation must be filed

with the Clerk of Court not later than August 8, 2016. The Clerk shall submit

this Report and Recommendation together with any objections to the Honorable

Lisa Godbey Wood, Chief Judge, on August 9, 2016. Failure to file an objection

within the specified time means that this Report and Recommendation may

become the opinion and order of the Court, Nettles v. Wainwright, 677 F.2d 404

(5th Cir. 1982), and further waives the right to appeal the District Court's Order.

Thomas v. Arn, 474 U.S. 140 (1985).

      All requests for additional time to file objections to this Report and

Recommendation should be filed with the Clerk for consideration by the District

Judge to whom this case is assigned.

      SO ORDERED this 25th day of July, 2016.


                                                     UNITED STATES MAGISTRATE JUDGE
                                                     SOUTHERN DISTRICT OF GEORGIA
